The verdict, being amply supported by the evidence and having the approval of the trial court, will not be disturbed by this court.
                        No. 15096. MARCH 7, 1945.
Rowena Davis filed an equitable petition against Charlie Davis, alleging that she was the owner of described land with improvements thereon; that in June, 1934, she married the defendant's son, Hiram Davis, and during the same month the defendant made a parol gift of the described land to her and her husband; that she and her husband remained in undisturbed possession of the land as co-owners from the date of the gift until her husband's death on April 18, 1943, and she has remained in possession of the property since his death; that the defendant never exercised nor claimed dominion over the property after the gift was made until after her husband's death; that she and her husband had made valuable improvements on the property; that she owns a half interest in the property by virtue of the parol gift to her, and the remaining half interest by virtue of the fact that she is the sole heir at law of her deceased husband, there being no administration on his estate; that the defendant threatens to dispossess her. The prayers were, for injunction, a decree of title in the plaintiff, and specific performance. The defendant denied all the material allegations of the petition, except that the plaintiff is the sole heir at law of her deceased husband. It is deemed unnecessary to set out in detail the evidence adduced at the trial. The jury found for the defendant. The exception is to the judgment overruling the plaintiff's motion for new trial on the general grounds only.
There was a sharp conflict in the evidence on all issues raised by the pleadings. The plaintiff offered evidence which, if believed, showed that a parol gift of land had been made by the defendant to her and her husband; that she and her husband entered into possession of the land, made valuable improvements thereon, and remained in undisturbed possession for a period of more than seven years. Nothing further appearing, the plaintiff *Page 150 
would have been entitled to a recovery under the Code, § 48-106. However, the defendant offered evidence to the contrary; and this evidence, if believed by the jury, authorized the jury to find that the possession of the premises by the plaintiff and her husband was not by virtue of a parol gift, but was under a rental agreement; that the plaintiff's husband paid rent to the defendant during the occupancy of the premises by the plaintiff and her husband; that the defendant made oral contracts with others for a portion of the permanent repairs on the premises, and paid for these repairs; that the remainder of the repairs were made at the instance of the plaintiff or her husband, but only after the repairs had been discussed between the defendant and the plaintiff's husband and an agreement reached that the cost of such repairs, which were to be paid for by the plaintiff's husband, should be applied as a credit on the rentals of the property; that the defendant never acknowledged to anyone that he had made a gift of the land to his son and daughter-in-law. The undisputed evidence showed that, during the occupancy of the premises by the plaintiff and her husband, the property was returned for taxation in the name of the defendant. The plaintiff testified that, during this period, she paid the taxes on the property by turning the money for their payment over to the defendant at the instance of her husband. The defendant denied this contention, and testified that he paid all the taxes on the property; that he had a homestead exemption on his own home, but no homestead exemption had been claimed on the property in dispute.
The jury by their verdict resolved the controversy in favor of the defendant, believing his contentions in preference to those of the plaintiff, as they had a right to do under the evidence. The verdict was amply supported by the evidence, and, having the approval of the trial court, will not be disturbed.
Judgment affirmed. All the Justices concur.